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                3                    IN THE UNITED STATES DISTRICT COURT
                4
                                      FOR THE NORTHERN MARIANA ISLANDS
                5

                6
                    MOHAMMAD FEROJ AHMED                   )      Civil No. 09-0026
                7                                          )
                8
                                       Plaintiff        )
                                                        )
                9                     v.                )        ORDER APPROVING
                                                        )        STIPULATION TO REMOVE
               10
                    GREGORY BAIZA, Acting Attorney )             HEARING FROM CALENDAR
               11   General, and MELVIN GREY,           )        DUE TO SETTLEMENT
                    Director of Immigration, in their   )
               12
                    official and individual capacities, )
               13                                       )
                                         Defendants     )
               14
                    -----------------------)
               15
                          BASED UPON the stipulation of plaintiff and defendants that this matter has
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               17   been settled and that a motion to dismiss this proceeding will be forthcoming, and
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                    good cause appearing therefrom; NOW, THEREFORE,
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                          IT IS ORDERED that the stipulation by and between plaintiff and defendants
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               21   to remove from the hearing calendar the motion to dismiss set for November 17,
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                    2009, be and hereby is approved and the motion is taken off-calendar.
               23
                          DATED this 5th day of November, 2009.
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                                                                     ALEX R. MUNSON
AO 72
(Rev. 08/82)                                                             Judge
